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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


IN THE MATTER OF THE APPLICATION OF
THE ASSOCIATED PRESS; CABLE NEWS
NETWORK, INC.; THE NEW YORK TIMES
CO.; AND WP CO., LLC, d/b/a THE                           Case No. 1:18-mc-00041-ABJ
WASHINGTON POST FOR ACCESS TO
CERTAIN SEALED COURT RECORDS



              SUPPLEMENTAL CORPORATE DISCLOSURE STATEMENT

        Pursuant to Federal Rule of Civil Procedure 7.1 and Local Civil Rule 7.1, undersigned

counsel hereby supplement the petitioners’ Corporate Disclosure Statement (Dkt. 2) and certify

that:

        Cable News Network, Inc. (“CNN”), a Delaware corporation, is a wholly owned

subsidiary of Turner Broadcasting System, Inc., which formerly was an indirect subsidiary of

Time Warner Inc. Time Warner Inc.’s successor in interest is Warner Media, LLC, a direct

wholly-owned subsidiary of AT&T Inc., a publicly traded corporation. AT&T Inc. has no parent

company and, to the best of CNN’s knowledge, no publicly held company owns ten percent or

more of AT&T’s stock.

        This representation is made in order that judges of this Court may determine the need for

recusal.
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Respectfully submitted,

Dated: June 29, 2018              BALLARD SPAHR LLP



                                  By:   /s/ Jay Ward Brown

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                                  Counsel for The Associated Press; Cable News
                                  Network, Inc.; The New York Times Co.; and
                                  WP Co., LLC, d/b/a/ the Washington Post




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 29th day of June, 2018, I caused the foregoing Supplemental

Corporate Disclosure Statement to be filed and served electronically via the Court’s ECF system

upon counsel of record, as follows:

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       I further certify that I caused the foregoing Supplemental Corporate Disclosure Statement

to be served via electronic mail and U.S. Mail on the following:

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                                                             /s/Jay Ward Brown__
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